    Case 9:18-cr-80109-RLR Document 1 Entered on FLSD Docket 05/08/2018 Page 1 of 6

  AO 91(Rev.08/09) CriminalComplaint

                                  U NITED STATES D ISTRICT C OURT                                   FILED                   2c. .
                                                           forthe
                                               SouthernDistrictofFlorida                                MAy g 2213
                  UnitedStatesofAmerica                      )                                           s
                                                                                                         gjp p
                            v.                               )                                           s.
                                                                                                                 j.u.g-j
                                                                                                          o.ofrF-ui
                                                                                                                       jtg-
                                                                                                                       w,F!B.
                                                             )        CaseNo. 18-821I-W M
                  JOHN JOSEPH O'
                               G RADY
                                                             )
                                                             )
                                                             )

                                               CRIM INAL COm LAINT
          1,thecomplainantin thiscase, state thatthefollowing istrueto thebestofm y knowledgeand belief
                                                                                                                 .

 Onoraboutthedatets)of                   03/21/2018                  inthecountyof           PALM BEACH                 in the
   SOUTHERN          Districtof        FLORIDA         ,   thedefendnntts)violated:
         Code
 18U.S.C.5912Section                                                   OyenseDescri
                                                                                  ption
                                         Fal
                                         D se Personation ofanOfficerorEmployee ofthe United States, to w i
                                                                                                          t,a
                                          eputy United StatesM arshal




         Thiscriminalcomplaintisbased on thesefacts'
                                                   .




                                   PLEASE SEE ATTACHED AFFIDAVIT



        W Continuedontheattachedsheet      .




                                                                 A                   complainant'
                                                                                                ssignature

                                                                            Keith Lawson,Deputv U .S.Marshal
                                                                                     Printednameand title
Swom to beforemeand signed in my presence.


Date:          05/08/2018
                                                                                       Judg '
                                                                                            ssi
                                                                                              gnature
City and state:             W estPalm Beach, Florida                  Hon.W illi
                                                                               am Matthewman, U.S.Maqistrate Judge
                                                                                     Printed nameand title
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                                          A FFID A V IT
                                     C ase N o.18-8211-W M




        Y ouraftiant,K eith Law son,tirstbeing duly sworn, does hereby depose and state as

 follow s:

        1.      Youraffiantispresently employed asaDeputy United StatesM arshal(DUSM ),
 and has served in thatcapacity since July of2008. A s such,youraffiantis law fully authorized to

 investigate and enforce the provisionsoffederallaw , to include violationsofTitle 18 ofthe United

 StatesCode.

        2.     This affidavitisbased upon your affiant'spersonalknow ledge, review ofreports,

 and infonnation obtained from otherlaw enforcem entofticialsand civiliansw ho possesspersonal

 know ledge ofthe eventsand evidence described herein. Thisaffidavitdoesnotcontain every fact

 aboutthiscase know n to youraffiant, butonly enough factsto establish probable cause to charge

 John Joseph O 'G R ADY forviolation ofTitle 18, U nited StatesCode,Section 912,thatis, the false

 personation ofa FederalOfficer, thatis,a Deputy U nited StatesM arshal.

               On March 21,2018,Officersofthe Boynton Beach Police Department(BBPD)
 responded to a callfrom the M anagerof the BestBuy ElectronicsR etailStore, located at550 N .

 Congress A venue, Boynton Beach, which you affiant is aware is located within Palm Beach

 County and the Southel'
                       n DistrictofFlorida. The M anager advised the officers thathe wished a

m an in a business suit,lateridentitied asthe defendant, JohnJoseph O'GRADY IO'GRADYI,to

be issued a trespass w arning because O 'G RA D Y had been previously observed shoplifting an

Iphone 10 from the storeon aprioroccasion. W hen BBPD officersm ade contactw ith O 'G RAD Y ,

who wasattired in suitwithajacket,displaying aUSM S lapelpin(thatis, a m iniaturereplica of
theUSM S starwithin acirclebadge)theyinquired whetherO'GRADY hadanyweaponson his
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 person,to w hich O 'G RA D Y responded ttyes.'' An officerthen asked where the weapon was

 located,to which O 'G RA DY replied Qion m y hip.''An ofticerthen asked whetherO 'GR AD Y w as

 û:a police officer,''to w hich O 'GR AD Y responded <ç1 am not.''The officerthen asked t%
                                                                                       , whatare
 you?''to w hich O 'G R AD Y responded ':a FederalM arshal.'' W hen asked ifhe had any tçfederal

 marshal1D,''O'GRADY claimedhedidnothaveanywithhim becauseheçjuststeppedoutofhis
 house.''W hen asked ifhehad a supervisor'snum berto call, O 'GR AD Y replied ç6no.''

        4.     Theofticersthen expressedtheirconcenzthatthedefendantwascarryi
                                                                                        ng a w eapon
 withoutany (law enforcement)identifcation,to which O'GRADY responded ttit'snota real
 w eapon.''O nly at the pointthatthe officers responded w ith incredulity tçyou're carrying a fake

w eapon,and you're a federal m arshal?,''did the defendant finally concede tçno ''thatis,thathe
                                                                                  ,

w as notactually a federalm arshal, butrathera lim o driver. The defendantw as then advised he

w asunderarrest.

       5.      D uring the foregoing incident, which wascaptured onaBBPD policebodycam era
                                                                                                  ,

which your affianthas viewed, O'GRADY was wearing an authentic appearing US M arshals

Service badge,a U S M arshals Service lapelPin, a suitand tie,and was found w earing a highly

realistic BB pistolreplica ofa sem i-autom aticpistolon hisrighthip in a beltholster.

              Based on youraffiant'spersonalknow ledge and experience, your affiantis aware

thatDeputy United StatesM arshals, also know n as federalm arshals
                                                                   ,   are em ployees ofthe United
States D epartm entofJustice. Based on persolm elchecks conducted by youraffiant
                                                                                , your affi
                                                                                          ant
is furtheraware thatdefendantO 'G RA D Y has neverbeen an officer or em ployee ofthe U SM S
                                                                                                  .


              Finally,your aftiantnotes thatafter receiving consentfrom O 'GR AD Y t
                                                                                    o search
his car,BBPD O fficers discovered a w hite Iphone X identified by serial num ber by BestBuy




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 employeesashaving been stolen from BestBuy severaldays earlier. BBPD Officers also seized

 anotherauthentic-appearing US M arshalsService badge from within O'GRADY'
                                                                          Svehicle.
        8.      On April2, 2018,youraffiantinterview ed K .C.,an employeeoftheBoyntonBeach

 BestBuy location atw hich O 'GR AD Y w asarrested on M arch 21 2018,asdescribed above
                                                                ,                         .   K .C.
 advised youraftiantthaton M onday, thatis,on M arch 19 2018,approxim ately 3 dayspriortothe
                                                         ,

 aforem entioned incident, O 'G RA D Y had spoken to her requesting assistance with a cellular
                                                        ,

 phone case from K .C. K.C.stated thatwhile she was assisting O 'GRADY
                                                                       , he w as w eari
                                                                                      ng an
 authentic appearing police lapelpin, specifically the one w ith the star and circle that he w as

w earing when he w asarrested on M arch 22, 2018. K .C.also m entioned thatduring this exchange

O 'G R ADY prom inently displayed an authentic appearing pistolin a holsteron hiship.

       9.      W HEREFO RE, on the basis of the foregoing facts and evidence
                                                                            , your affi
                                                                                      ant
respectfully subm itsthatprobablecause existsto charge defendantJolm Joseph O 'G RAD Y w ith

False Personation ofan O fficerorEm ployee ofthe United States thatis,a Deputy U
                                                                ,                  .S.M arshal
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 em ployed by the United StatesM arshalsService, United States Departm entofJustice, in violation

 ofTitle 18,United States Code, Section 912.

        FU RTHER Y OU R A FFIA N T SA YETH NA UG H T.

                                                          .,A   .
                                                         '.
                                                      ..x.




                                                    K eith aw son
                                                    Deputy United States M arshal
                                                    U .S.M arshals Service




 sw o RN TO A N D SU BSCRIBED
 BEFORE M E TH IS 8TH DA Y OF
 M A Y ,2018,IN C HA M BER S A T
 w Es'r PALM BEA CH ,FLO R ID A .



 LX .
 H O N .W IL LI M A TTH EW M AN
 U NITED STA TES M A G ISTR ATE JU D G E




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                         UNITED STATES DISTRICT CO URT
                         SOUTHERN DISTRICT O F FLO RIDA
                                PENA LTY SHEET

 Defendant's Nam e:      JO HN JO SEPH O 'G RADY


 Case No.: 18-821I-W M
                                                    -




 Counts # 1

 lm personation ofa Deputy United States M arshal
 Title 18,United States Code, Section 912

 Max,Penalty:0-3years'imprisonment;maximum fine of$250,000'
 sup                                                      ,0-1 yearterm of
    ervised release'
                   , and,a $100.
                               00 specialassessment .




                   *
